FILED

IN THE UNITED STATES DISTRICT COURT Charlotte, NC
FOR THE WESTERN DISTRICT OF NORTH CAROLINA oe
CHARLOTTE DIVISION JAN 23 2025

UNITED STATES OF AMERICA DOCKET NO. 3:25GE46 US, District Court

estern District NC

v. BILL OF INDICTMENT

Violation: 18 U.S.C. § 922(g)(1)

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)
)
JONATHAN ALEXANDER DIAZ )
)

THE GRAND JURY CHARGES:

COUNT ONE
(Possession of a Firearm by a Convicted Felon)

On or about July 11, 2023, in Mecklenburg County, within the Western District of North Carolina,
the defendant,

JONATHAN ALEXANDER DIAZ,

knowing that he had previously been convicted of at least one crime punishable by imprisonment for a term
exceeding one year, did knowingly and unlawfully possess one or more firearms, that is, a Smith and
Wesson, model 340, .357 caliber revolver, in and affecting commerce, in violation of Title 18, United States

Code, Section 922(g)(1).

NOTICE OF FORFEITURE AND FINDING OF PROBABLE CAUSE

Notice is hereby given of the provisions of 18 U.S.C. § 924(d) and the statutes incorporated or
referred to therein. The firearms and ammunition listed below are subject to forfeiture in accordance with
§ 924(d) because they were involved in, used, or intended to be used in the violation alleged in this bill of

indictment.
The Grand Jury finds probable cause to believe that the following property is subject to forfeiture

on one or more of the grounds stated above:

a. One Smith and Wesson, model 340, .357 caliber revolver and ammunition seized during the

investigation.
A TRUE BILL
A
FOREPERSON v
DENA J. KING
UNITED STATES ATTORNEY
STEPHANIE [; SPAUGH

ASSISTANT UNITED STATES ATTORNEY

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